                              NO. 07-11-00417-CR
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL A
                                       
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NOVEMBER 3, 2011
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                       RICHARD SCOTT PURGASON, APPELLANT
                                       
                                      v.
                                       
                         THE STATE OF TEXAS, APPELLEE 
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                FROM THE 18TH DISTRICT COURT OF JOHNSON COUNTY;
                                       
                  NO. F39678; HONORABLE JOHN E. NEILL, JUDGE
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Before CAMPBELL and HANCOCK and PIRTLE, JJ.


                            ON ABATEMENT AND REMAND
                                       
Following a plea of not guilty, appellant, Richard Scott Purgason, was convicted by a jury of three counts of aggravated sexual assault of a child, and sentenced to 99 years incarceration in the Texas Department of Criminal Justice, Institutional Division.  The clerks record was filed on October 14, 2011.
Texas Rule of Appellate Procedure 25.2(a)(2) requires that a trial court shall enter a Certification of Defendants Right of Appeal each time it enters a judgment of guilt or other appealable order.  Tex. R. App. P. 25.2(a)(2); Hargesheimer v. State, 182 S.W.3d 906, 911 (Tex.Crim.App. 2006).  An appeal must be dismissed if the certification has not been made part of the record under the applicable rules.  Tex. R. App. P. 25.2(d).  Additionally, the certification must be signed by the defendant and a copy must be given to him.  Id.  The certification must also include a notice that the defendant has been informed of his rights concerning appeal, as well as his right to file a pro se petition for discretionary review.  
The certification contained in the clerks record in this case states that this was not a plea-bargain case, and that appellant has the right of appeal.  However, the certification was not signed by appellant, and does not reflect whether a copy of the certification was given to appellant.  Therefore, the certification on file is defective.
Consequently, we abate this appeal and remand the cause to the trial court for further proceedings.  Upon remand, the trial court shall utilize whatever means necessary to secure a certification of defendants right of appeal that complies with Rule 25.2(d).  Once properly executed, the certification shall be included in a supplemental clerks record and filed with the Clerk of this Court on or before November 28, 2011.
This order constitutes notice to all parties of the defective certification pursuant to Rule 37.1 of the Texas Rules of Appellate Procedure.  See Tex. R. App. P. 37.1.  If a supplemental clerks record containing a proper certification is not filed in accordance with this order, this matter will be referred to the Court for dismissal.  See Tex. R. App. P. 25.2(d).
It is so ordered.
Per Curiam



